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UNITED sTATEs DrsTRICT CoURT FllED BY_.______ D.C.
wEsTERN DrsTRrCr oF TENNESSEE
Eastern Division [}5 AUG | 5 PH 3: 31

UNITED STATES OF AMERICA

 

_vs_

GLENN KEITH SNEAD

 

ORDER OF DETENT|ON PENDING TRIAL
FlNDINGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3 l42(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECT|ONS REGARD|NG DETENT|ON

GLENN KEITH SNEAD is committed to the custody of the Attomey General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. GLENN KEITH SNEAD shall be afforded a reasonable opportunity for
private consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of` the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

pate Augusr 16, 2005 <:g%/lu @J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case l:05-CR-10050 was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

